            Case 5:20-cv-01474-XR Document 1 Filed 12/30/20 Page 1 of 11




                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


PATRICK LATRONICO, Individually and                                                             PLAINTIFF
on Behalf of All Others Similarly Situated


vs.                                        No. 5:20-cv-1474


V.K. KNOWLTON CONSTRUCTION                                                                     DEFENDANT
AND UTILITIES, INC.


                     ORIGINAL COMPLAINT—COLLECTIVE ACTION


       COMES NOW Plaintiff Patrick Latronico (“Plaintiff”), individually and on behalf of

all others similarly situated, by and through his attorneys Merideth Q. McEntire and Josh

Sanford of Sanford Law Firm, PLLC, and for his Original Complaint—Collective Action

(“Complaint”) against Defendant V.K. Knowlton Construction and Utilities, Inc.

(“Defendant”), he states and alleges as follows:

                               I.       PRELIMINARY STATEMENTS

       1.      This is a collective action brought by Plaintiff, individually and on behalf of

all others similarly situated, against Defendant for violations of the overtime provisions of

the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”).

       2.      Plaintiff seeks a declaratory judgment, monetary damages, liquidated

damages, prejudgment interest, and a reasonable attorney’s fee and costs as a result of

Defendant’s failure to pay proper overtime compensation under the FLSA.




                                                 Page 1 of 11
                 Patrick Latronico, et al. v. V.K. Knowlton Construction and Utilities, Inc.
                                  U.S.D.C. (W.D. Tex.) No. 5:20-cv-1474
                                 Original Complaint—Collective Action
            Case 5:20-cv-01474-XR Document 1 Filed 12/30/20 Page 2 of 11




                              II.      JURISDICTION AND VENUE

       3.      The United States District Court for the Western District of Texas has subject

matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331 because this

suit raises federal questions under the FLSA.

       4.      Venue lies properly within this Court under 28 U.S.C. § 1391(b)(1) and

(c)(2), because the State of Texas has personal jurisdiction over Defendant, and

Defendant therefore “resides” in Texas.

       5.      The acts complained of herein were committed and had their principal effect

against Plaintiff within the San Antonio Division of the Western District of Texas; therefore,

venue is proper within this District pursuant to 28 U.S.C. § 1391.

                                        III.     THE PARTIES

       6.      Plaintiff is an individual and resident of Bexar County.

       7.      Defendant is a domestic, for-profit corporation.

       8.      Defendant’s registered agent for service is Samuel K. Knowlton at 18225

FM 2252, San Antonio, Texas 78266.

       9.      Defendants maintain a website at https://www.vkk.com/.

                                IV.      FACTUAL ALLEGATIONS

       10.     Plaintiff repeats and re-alleges all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       11.     Defendant employs two or more individuals who engage in interstate

commerce or business transactions, or who produce goods to be transported or sold in

interstate commerce, or who handle, sell, or otherwise work with goods or materials that




                                                 Page 2 of 11
                 Patrick Latronico, et al. v. V.K. Knowlton Construction and Utilities, Inc.
                                  U.S.D.C. (W.D. Tex.) No. 5:20-cv-1474
                                 Original Complaint—Collective Action
          Case 5:20-cv-01474-XR Document 1 Filed 12/30/20 Page 3 of 11




have been moved in or produced for interstate commerce, such as construction tools and

equipment.

       12.      Defendant’s annual gross volume of sales made or business done is not

less than $500,000.00 (exclusive of excise taxes at the retail level that are separately

stated) in each of the three years preceding the filing of the Original Complaint.

       13.      Defendant is an employer within the meaning of the FLSA and has been, at

all times relevant herein, Plaintiff’s employer.

       14.      Defendant’s primary business is providing construction and utility services.

       15.      At all times material herein, Plaintiff has been entitled to the rights,

protections, and benefits provided under the FLSA.

       16.      Defendant employed Plaintiff within the three years preceding the filing of

this lawsuit.

       17.      Specifically, Defendant employed Plaintiff as an hourly-paid machine

operator from March of 2019 until December of 2020.

       18.      Defendant also employed other hourly-paid machine operators and hourly-

paid laborers (collectively “Construction Workers”).

       19.      As a Construction Worker, Plaintiff was primarily responsible for performing

landscaping and maintenance work, such as clearing brush and moving dirt.

       20.      Other Construction Workers had the same or similar duties as Plaintiff.

       21.      Defendant directly hired Plaintiff and other Construction Workers, controlled

their work schedules, duties, protocols, applications, assignments and employment

conditions, and kept at least some records regarding their employment.




                                                 Page 3 of 11
                 Patrick Latronico, et al. v. V.K. Knowlton Construction and Utilities, Inc.
                                  U.S.D.C. (W.D. Tex.) No. 5:20-cv-1474
                                 Original Complaint—Collective Action
          Case 5:20-cv-01474-XR Document 1 Filed 12/30/20 Page 4 of 11




       22.    In addition to his hourly wage, Plaintiff received quarterly bonuses as part

of his regular pay structure.

       23.    Other Construction Workers also received quarterly bonuses as part of their

regular pay structure.

       24.    These bonuses were nondiscretionary because Defendant informed

Construction Workers of the bonuses upon hiring, the Construction Workers expected to

receive these bonuses and did in fact receive the bonuses on a regular basis.

       25.    Upon information and belief, all or most Construction Workers receive

quarterly bonuses.

       26.    Defendant informs Construction Workers of the bonuses upon hiring

because the bonuses are part of Defendant’s compensation package and Construction

Workers expect to receive the bonuses.

       27.    Plaintiff and other Construction Workers regularly worked in excess of forty

hours per week throughout their tenure with Defendant.

       28.    Defendant paid Plaintiff and other Construction Workers 1.5x times their

base hourly rate for some of the hours they worked over 40 in a workweek.

       29.    However, Defendant did not include the bonuses that were paid to Plaintiff

and other Construction Workers in their regular rates when calculating their overtime pay

even though Plaintiff and other Construction Workers received bonuses in pay periods in

which they also worked in excess of forty hours per week.

       30.    Section 778.208 of Title 29 of the Code of Federal Regulations requires that

all forms of compensation, such as nondiscretionary bonuses, “must be totaled in with

other earnings to determine the regular rate on which overtime pay must be based.”

                                                Page 4 of 11
                Patrick Latronico, et al. v. V.K. Knowlton Construction and Utilities, Inc.
                                 U.S.D.C. (W.D. Tex.) No. 5:20-cv-1474
                                Original Complaint—Collective Action
            Case 5:20-cv-01474-XR Document 1 Filed 12/30/20 Page 5 of 11




       31.     Defendant violated the FLSA by not including all forms of compensation,

such the non-discretionary bonuses paid to Plaintiff and other Construction Workers, in

their regular rate when calculating their overtime pay.

       32.     Defendant’s pay practices were the same for all Construction Workers who

received bonuses.

       33.     Defendant sometimes shaved Plaintiff’s hours to reflect fewer hours than

he actually worked.

       34.     Plaintiff estimates there were several weeks in which his hours were

insufficient by three to five hours, totaling approximately twenty hours which went

unrecorded and uncompensated.

       35.     Defendant knew or should have known that Plaintiff was working hours

which went unrecorded and uncompensated.

       36.     Defendant knew, or showed reckless disregard for whether, the way it paid

Plaintiff and other Construction Workers violated the FLSA.

                      V.       REPRESENTATIVE ACTION ALLEGATIONS

       37.     Plaintiff repeats and re-alleges all previous paragraphs of this Complaint as

though fully incorporated in this section.

       38.     Plaintiff brings this claim for relief for violation of the FLSA as a collective

action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of all persons

similarly situated as Construction Workers who were, are, or will be employed by

Defendant within the applicable statute of limitations period, who are entitled to payment

of the following types of damages:

       A.      Overtime premiums for all hours worked over forty hours in any week;

                                                 Page 5 of 11
                 Patrick Latronico, et al. v. V.K. Knowlton Construction and Utilities, Inc.
                                  U.S.D.C. (W.D. Tex.) No. 5:20-cv-1474
                                 Original Complaint—Collective Action
              Case 5:20-cv-01474-XR Document 1 Filed 12/30/20 Page 6 of 11




         B.      Liquidated damages; and

         C.      Attorney’s fees and costs.

         39.     Plaintiff proposes the following class under the FLSA:

                    All Construction Workers who received a bonus in
               connection with work performed in at least one week in which
                 they worked over forty hours within the past three years.

         40.     In conformity with the requirements of FLSA Section 16(b), Plaintiff has filed

or will soon file a written Consent to Join this lawsuit.

         41.     The relevant time period dates back three years from the date on which

Plaintiff’s Original Complaint—Collective Action was filed herein and continues forward

through the date of judgment pursuant to 29 U.S.C. § 255(a), except as set forth herein

below.

         42.     The members of the proposed FLSA class are similarly situated in that they

share these traits:

         A.      They were paid hourly;

         B.      They were eligible for and received nondiscretionary bonuses;

         C.      They worked over forty hours in at least one week in which they performed

work related to a bonus;

         D.      They were subject to Defendant’s common policy of failing to pay a proper

overtime rate for hours worked over forty in a week; and

         E.      They had the same or substantially similar job duties and requirements.

         43.     Plaintiff is unable to state the exact number of the class but believes that

the class exceeds two hundred (200) persons.




                                                   Page 6 of 11
                   Patrick Latronico, et al. v. V.K. Knowlton Construction and Utilities, Inc.
                                    U.S.D.C. (W.D. Tex.) No. 5:20-cv-1474
                                   Original Complaint—Collective Action
          Case 5:20-cv-01474-XR Document 1 Filed 12/30/20 Page 7 of 11




        44.   Defendant can readily identify the members of the collective, who are a

certain portion of the current and former employees of Defendant.

        45.   The names and physical and mailing addresses of the probable FLSA

collective action plaintiffs are available from Defendant.

        46.   The email addresses of many of the probable FLSA collective action

plaintiffs are available from Defendant.

                            VI.    FIRST CLAIM FOR RELIEF
                      (Individual Claims for Violation of the FLSA)

        47.   Plaintiff repeats and re-alleges all previous paragraphs of this Complaint as

though fully set forth herein.

        48.   Plaintiff asserts this claim for damages and declaratory relief pursuant to

the FLSA, 29 U.S.C. § 201, et seq.

        49.   At all relevant times, Defendant has been, and continues to be, an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

        50.   29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay a minimum wage for all hours worked up to 40 each week and to pay 1.5x their regular

wages for all hours worked over 40, unless an employee meets certain exemption

requirements of 29 U.S.C. § 213 and all accompanying DOL regulations.

        51.   Defendant classified Plaintiff as non-exempt from the requirements of the

FLSA.

        52.   Defendant failed to pay Plaintiff for all hours worked.

        53.   Despite Plaintiff’s entitlement to overtime payments under the FLSA,

Defendant failed to pay Plaintiff 1.5x his regular rate for all hours worked in excess of 40

per week.
                                                Page 7 of 11
                Patrick Latronico, et al. v. V.K. Knowlton Construction and Utilities, Inc.
                                 U.S.D.C. (W.D. Tex.) No. 5:20-cv-1474
                                Original Complaint—Collective Action
          Case 5:20-cv-01474-XR Document 1 Filed 12/30/20 Page 8 of 11




       54.     Defendant knew or should have known that its actions violated the FLSA.

       55.     Defendant’s conduct and practices, as described above, were willful.

       56.     By reason of the unlawful acts alleged herein, Defendant is liable to Plaintiff

for monetary damages, liquidated damages and costs, including reasonable attorney’s

fees provided by the FLSA for all violations which occurred beginning at least three years

preceding the filing of Plaintiff’s initial complaint, plus periods of equitable tolling.

       57.     Defendant has not acted in good faith nor with reasonable grounds to

believe its actions and omissions were not a violation of the FLSA, and, as a result thereof,

Plaintiff is entitled to recover an award of liquidated damages in an amount equal to the

amount of unpaid minimum wage and unpaid overtime premium pay described above

pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

       58.     Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiff as provided by the FLSA, Plaintiff is entitled to an award of

prejudgment interest at the applicable legal rate.

                          VII. SECOND CLAIM FOR RELIEF
                   (Collective Action Claim for Violation of the FLSA)

       59.     Plaintiff repeats and re-alleges all previous paragraphs of this Complaint as

though fully set forth herein.

       60.     Plaintiff asserts this claim for damages and declaratory relief on behalf of all

similarly situated employees pursuant to the FLSA, 29 U.S.C. § 201, et seq.

       61.     At all relevant times, Defendant has been, and continues to be, an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

       62.     29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to 40 each week and to pay
                                                 Page 8 of 11
                 Patrick Latronico, et al. v. V.K. Knowlton Construction and Utilities, Inc.
                                  U.S.D.C. (W.D. Tex.) No. 5:20-cv-1474
                                 Original Complaint—Collective Action
          Case 5:20-cv-01474-XR Document 1 Filed 12/30/20 Page 9 of 11




1.5x their regular wages for all hours worked over 40 in a week, unless an employee

meets certain exemption requirements of 29 U.S.C. § 213 and all accompanying

Department of Labor regulations.

       63.    Defendant classified Plaintiff and other similarly situated employees as non-

exempt from the overtime provisions of the FLSA.

       64.    Defendant failed to pay Plaintiff and similarly situated employees 1.5x their

regular rate for all hours worked in excess of 40 per week.

       65.    Defendant deprived Plaintiff and similarly situated employees of

compensation for all of the hours worked over forty per week, in violation of the FLSA.

       66.    Defendant knew or should have known that its actions violated the FLSA.

       67.    Defendant’s conduct and practices, as described above, were willful.

       68.    By reason of the unlawful acts alleged herein, Defendant is liable to Plaintiff

and all similarly situated employees for monetary damages, liquidated damages and

costs, including reasonable attorney’s fees provided by the FLSA for all violations which

occurred beginning at least three years preceding the filing of Plaintiff’s initial complaint,

plus periods of equitable tolling.

       69.    Defendant has not acted in good faith nor with reasonable grounds to

believe its actions and omissions were not a violation of the FLSA, and, as a result thereof,

Plaintiff and similarly situated employees are entitled to recover an award of liquidated

damages in an amount equal to the amount of unpaid overtime premium pay described

above pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b).




                                                Page 9 of 11
                Patrick Latronico, et al. v. V.K. Knowlton Construction and Utilities, Inc.
                                 U.S.D.C. (W.D. Tex.) No. 5:20-cv-1474
                                Original Complaint—Collective Action
            Case 5:20-cv-01474-XR Document 1 Filed 12/30/20 Page 10 of 11




       70.      Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiff and the collective members as provided by the FLSA, they are

entitled to an award of prejudgment interest at the applicable legal rate.

                                   VIII.    PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiff Patrick Latronico, individually and

on behalf of all others similarly situated, respectfully prays that Defendant be summoned

to appear and to answer this Complaint and for declaratory relief and damages as follows:

       A.       Declaratory judgment that Defendant’s practices alleged in this Complaint

violate the FLSA and its related regulations;

       B.       Certification of a collective under Section 216 of the FLSA of all individuals

similarly situated, as further defined in any motion for the same;

       C.       Judgment for damages suffered by Plaintiff and others similarly situated for

all unpaid overtime wages under the FLSA and its related regulations;

       D.       Judgment for liquidated damages owed to Plaintiff and all others similarly

situated pursuant to the FLSA and its related regulations;

       E.       An order directing Defendant to pay Plaintiff and all others similarly situated

interest, a reasonable attorney’s fee and all costs connected with this action; and

       F.       Such other and further relief as this Court may deem just and proper.




                                                  Page 10 of 11
                  Patrick Latronico, et al. v. V.K. Knowlton Construction and Utilities, Inc.
                                   U.S.D.C. (W.D. Tex.) No. 5:20-cv-1474
                                  Original Complaint—Collective Action
Case 5:20-cv-01474-XR Document 1 Filed 12/30/20 Page 11 of 11




                                              Respectfully submitted,

                                              PLAINTIFF PATRICK LATRONICO,
                                              Individually and on Behalf of
                                              All Others Similarly Situated

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                                     Page 11 of 11
     Patrick Latronico, et al. v. V.K. Knowlton Construction and Utilities, Inc.
                      U.S.D.C. (W.D. Tex.) No. 5:20-cv-1474
                     Original Complaint—Collective Action
